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Name

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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS
                                                                                               23-3091-JWL
'QYlOU\CC{\~ru2 ,\AJ?£,f\                    , Plantiff                   CASE NO. _ _ _ _ _ _ _ _ __
(Full Name)                                                                                (To be supplied by the Clerk)

                          V.

'-:6'1:ffi(?.   as= \f-fA.N:£:)!6            , Defendant (s)                       CIVIL RIGHTS COMPLAINT
                                                                                    PURSUANT TO 42 U.S.C.
                                                                                             §1983


                                                           A. JURISDICTION

      1)   t)V)C1r\OOG ~ . \                  9.   YJ.£.~
                                          (Plaintiff)

           who presently resides at                AC.,~(\           e.o:·::;~\L
                                           (I \ ~ \ (        WC\                    (Mailing address or place
           2~        ~ ,..)\ 1 :i~ }-M1-~0; ~                          L,~4¼ .
           of conjineni'int.) " t )



     2) Defendant           3\     AJE'.,      o F~~AS
                                          (Name offirst defendant)
                                                                                                            is a citizen of


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              \ N_,..~=-"',,___,,·=         -"'""""'b
                                                    ""'-"--\-4-!IT\/
                                                                ___..__._.-F-- - - - - - - - - - ' and is employed as
                                          (City, ~

           \-¼';h
                -~ 0"'----'~'I----/}3
                                   --4''-+-'ffi
                                            ___,,____,_j'C
                                                       _..,r"-).,_,l__ \½,._.,Q
                                                                              --"'---"----
                                                                                     ;~- " - - - - - - - - - - - - - · At the time the
                            l                                        (Position and title, if any)

           claim(s) allegef        n this complaint arose, was this defendant acting under the color of state

           law? Yes      6Z] No D. If your answer is "Yes", briefly explain:



                                                                                                                                         1
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    3) Defendant _ _ _1'.
                      ~ .~-
                          ,. . ,0~ - - -- - - - --                         - -- - - - is a citizen of
                                             (Nam e ofsecond def endant)

       _ _ _ _ _ __ c)
                    _ ·_ __ _ _ _ _ _ _ _ _ _ __ _ , and is employed as
                                (City, state)


                      (Position and title,   if any)

       claim (s) alleged in this complaint arose was this defendant acting under the color of state

       law? Yes   D    No   g.lf your answer is "Yes", briefly explain:


       (Use the back of this page to furnish the above information for additional defendants.)



   4) Jurisdiction is invoked pursuant to 28 U .S.C. §1343(3); 42 U.S.C . §1983. (If you wish to

       assert jurisdiction under different or additional statutes, you may list them below.)




                                             B. NATUREOFTHECASE

   1) Briefly state the background of your case:
                                   ~ ~~ ~~ -z_o"L()
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      \ ..\'--\t J LJlocu .:s:. Gn- :x:b ~e. ~ao ac:::k\Ji
      b-2)0 3'.~~$' -~ ~ ~'f>ce_,. -x. ~\.~~ Sko,




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                                          C. CAUSE OF ACTION

    1) I allege that the following of my constitutional rights, privileges or immunities have been

       violated and that the following facts form the basis for my allegations: (If necessary you

       may attach up to two additional pages (8h" x 11 ") to explain any allegation or to list

       additional supporting facts.)

       A) (1) Count I:    .::s:: \..0~    \~\'g_ayYj~\~                 t:-..5:::SQQ~~ (s\,\c\ )

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            ~,~C\t:e-~ L~e, of'Q,reR.-~)hy Qp,._~/\_\/1~~cs; \~crnu::e~
             my r:i.-,a~"' eo. \: dSA..~ R.,,                 v

             (2) Supp01iing Facts: (Include all facts you consider important, including names of

             persons involved, places and dates. Describe exactly how each defendant is involved.

             State the facts clearly in your own words without citing legal authority or argument.):

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       B) (1) Count II: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




            (2) Supporting Facts: _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ __




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       C) (1) Count III:-~ ~ -- - -- - -- - -- -- - - - - -




                    D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

    1) Have you begun other lawsuits in state or federal court dealing with the same facts

       involved in_this acy.on or otherwise relating to the conditions of your imprisonment?

       Yes   D     No [Q(. If your answer if "Yes", describe each lawsuit. (If there is more than

       one lawsuit, describe the additional lawsuits on another piece of paper, using the same

       outline.)

            a) Parties to previous lawsuit:



               Defendants: ____,._._._....,__   _ ____________________
            b) Name of court and docket number N
                                               ~~ {)
                                                  _ _ _ _ _ _ _ _ _ _ _ _ __ _ _



            c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still




                             NO
            d) Issues raised ~ -- -- - - - - - -- - - - - -- - - - - -- -




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             e) Approximate date of filing lawsuit _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

             f) Approximate date of disposition _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       1) I have previously sought informal or formal relief from the appropriate administrative

             officials regarding the acts complained of in Part C Yes D No D          . If your answer is
             "Yes", briefly describe how relief was sought and the results. If you answer is "No",

             briefly explaih why administrative relief was not sought.




                                            2) REQUEST FOR RELIEF

       1) I believe that I am entitled to the following relief:

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       Signature of Attorney (if any)




       (Attorney's full address and telephone number)




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